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Court News ...


    
	
	
		Fee Memorandum - County Treasurers&nbsp;&nbsp;(07-03-2018)
	
		Fee Memorandum - Magistrates and Municipal Judges&nbsp;&nbsp;(07-03-2018)
	
		Fee Memorandum - Clerks of Court and Registers of Deeds&nbsp;&nbsp;(07-03-2018)
	
		Opinions and Advance Sheet Will Be Posted on Thursday, July 5, 2018&nbsp;&nbsp;(06-29-2018)
	
		...more
	
     


  
	  
	    
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